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                                 UNITED STATES DISTRICT COURT
                                                                                          CLERK U.S. DISTRICT COURT
                                                    for the                                  Al FXANDRIA. VIRGINIA

                                 EASTERN DISTRICT OF VIRGINIA

U.SA. VS. Darius J. Lard                                       Docket No. 1:18MJ361

                                            Petition on Probation


         COIvES NOW Daniel D. Glllespie. Jr.. PROBATION OFFICER OF THE COURT, presenting an official
report upon the conduct and attitude of Darius J. Lard, who was placed on supervision by the Honorable Ivan D.
Davis, United States Magistrate Judge sitting in the Court at Alexandria. Virginia, on the 20th day of August
2018. who fixed the period ofsupervision atonefllvear.and imposed the general terms and conditions heretofore
adopted by the Court and also imposed special conditions and terms as follows: 1) the defendant must participate
in a drug education or treatment program as directed by the probation ofilcer; 2) the defendant must undergo
substance abuse testing as directed by the probation officer, and 3) the defendant must return to court on August
20,2019, if ordered to do so.




RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS
FOLLOWS:
                                                 See Anacbraent(i)

PRAYING THAT THE COURT WTLL ORDER a summons to be issued directing that the offender appear
before the Court to show cause why supervision should not be revoked.



Returnable Date   . ynafoL ^(t, Son® lo-.oo A-nr

                 ORDER OF COURT                              I declare under the penalty of pegury that the
                                                             foregoing is true and correct
 Considered and ordered this      day of       .
 2019 and ordered fi led and made a part of the              Executed on; February 28. 2019
 records in the above case.

                                                             Daniel D. Gillespie, Jr.
                                                             U.S. Probation Officer
                           /s/
                                                             Place Alexandria. Virginia
                  Ivan D. Davis
        United States Magistrate Judge




TO CLERK'S OFFICE
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Petition on Probation
Page 2
RE:Lard* Darins J.

OFFENSE: Possession ofMarijuana.

SENTENCE:The defendant was sentenced to one(1)year pre-judgment probation pursuant to 18 U.S.C. §3607
with the special conditions as listed on page one (1).

ADJUSTMENT TO SUPERVISION:The defendant's overall adjustment has been marginal. He has reported to
the probation office as directed, maintained a stable residence with his mother and has remained gainfully
employed as a laborer with American Disposal Services. He also continues to participate in substance abuse
treatment with National Counseling Group and has remained in compliance with tite program requimnents.

The defendant was initially under the supervision of U.S.Probation Officer Sherylle Gant and transferred to this
officer in October 2018 for administrative reasons. In September 2018 the defendant failed to r^rt for a
scheduled drug test and admitted to Officer Gant that he had used marijuana on Sqrtember 21,2018. Officer
Gant submitted a violation notice to the Court requesting no action in lieu of increas^ testing and participation
in substance abuse treatment The Court approved the no action request on October 12,2018.

VIOLATIONS:The following violations are submitted for the Court's consideration.

MANDATORY CONDITION:                  NEW LAW VIOLATION-FAILURE TO DISPLAY UCENSE TO A
                                      UNIFORMED OFFICER ON DEMAND.

On February 3,2019, in Harford County, Maryland,the defendant received a traffic citation for the above listed
infraction following a traffic stop. The infraction carries a $50.00 fine should the defendant not wish to make a
court appearance.

STANDARD CONDITION:                   UNAUTHORIZED TRAVEL OUTSIDE THE JUDICIAL DISTRICT.

On Febmary 3, 2019, the defendant traveled to Philadelphia, Pennsylvania, without authorization from the
probation officer. On February 6, 2019, the defendant admitted to this officer that he traveled without
authorization when discussing the traffic citation that was issued in Harford County,Maryland.

MANDATORY CONDITION:                  USE OF MARIJUANA

On February 6,2019,the defendant submitted a urine specimen that screened and has since confirmed positive
for marijuana metabolite reflecting new use ofthe substMce.

STANDARD CONDITION:                   PROVIDING         UNTRUTHFUL            INFORMATION            TO      THE
                                      PROBATION OFnCER.

On February 6,2019, while addressing the other above iisted technical violations with this officer, and prior to
submitted the above-referenced drug test, the defendant advised this officer that he had refrained from any illicit
drug use since his last urinalysis submitt^ on January 18,2019.

DDG/mbp
PTA




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